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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90757
      Strudel Holdings LLC and AVR AH LLC
      Hearing on [72], [73], [78], and [111].




      Case Type :                    bk
      Case Number :                  2023-90757
      Case Title :                   Strudel Holdings LLC and AVR AH LLC

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